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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-124
MELODY STEELE-SMITH, : VIOLATIONS:
Defendant. : 18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(C)

(Entering and Remaining in Certain
Rooms in the Capitol Building)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, MELODY
STEELE-SMITH attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States

Capitol without authority and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO

On or about January 6, 2021, in the District of Columbia, MELODY STEELE-SMITH
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, or otherwise restricted area within the United States Capitol and its grounds,
where the Vice President and Vice President-elect were temporarily visiting, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, MELODY STEELE-SMITH
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, or otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, MELODY STEELE-SMITH,

willfully and knowingly, and with the intent to disrupt the orderly conduct of official business,

entered and remained in a room in any of the Capitol Buildings set aside and designated for the
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use of either House of Congress and a Member, committee, officer, and employee of Congress,
and either House of Congress, and the Library of Congress, without authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C)

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, MELODY STEELE-
SMITH willfully and knowingly engaged in disorderly and disruptive conduct in any of the
Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

A TRUE BILL:

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weet of the United States in
and for the District of Columbia.
